
Allen, J.
delivered the opinion of the court.
The court is of opinion, that although it is competent for a court of equity, in a proper case, to sequestrate the rents and profits of mortgaged or incumbered property, where a forfeiture has accrued, and such rents and profits may be necessary to discharge the incumbrances, it is not competent to recover from the mortgagor, or equitable owner in possession, the rents and profits actually received by him, or which accrued before any order of sequestration was made. The court is, therefore, of opinion, that it was improper to injoin the appellant from collecting the rents which had previously accrued, or were about to fall due, for the previous occupation of the incumbered premises; and that there was error in overruling the motion to dissolve the injunction. "
